Case 6:18-cv-00026-ACC-DCI Document 28 Filed 05/29/18 Page 1 of 6 PageID 193



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

  EMPIRE CORVETTE OF AMERICA, INC.,                     CASE NUMBER: 6:18-cv-26-ORL
  a New York Corporation,

                  Plaintiff,

  vs.

  JUST TOYS CLASSIC CARS, LLC,
  a Florida Limited Liability Company,

              Defendants.
  ________________________________________/

   DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
                   THIRD AMENDED COMPLAINT

           COMES NOW Defendants, JUST TOYS CLASSIC CARS, LLC (“JUST

  TOYS”), by and through the undersigned counsel, and hereby files this Answer to

  Plaintiff’s Third Amended Complaint and states as follows:

        1. ADMITTED that Plaintiff has pled for damages in excess of $75,000. DENIED as

  to all other allegations.

        2. Unknown and therefore DENIED.

        3. ADMITTED.

        4. ADMITTED.

        5. ADMITTED.

        6. DENIED that the court has jurisdiction over the case as Defendant alleges that

  Ryan Payne is the proper party to this litigation and his current citizenship is unknown.

        7. ADMITTED that venue is proper in Orange County, Florida. DENIED as to all

  other allegations.



                                          Page 1 of 6
Case 6:18-cv-00026-ACC-DCI Document 28 Filed 05/29/18 Page 2 of 6 PageID 194



     8. ADMITTED.

     9. DENIED.

     10. DENIED.

     11. ADMITTED that at the time of the delivery of the vehicles, a contract was

  executed between Ryan Payne and Just Toys for two vehicles. DENIED as to all other

  allegations.

     12. ADMITTED that a former employee of Just Toys corresponded with Ryan Payne

  and sent a revised contract. ADMITTED that the revised agreement was never executed

  by the parties.

     13. ADMITTED that Just Toys received an offer for $30,000.00 for the GTO Judge.

  DENIED as to all other allegations.

     14. DENIED.

     15. ADMITTED that Just Toys received an offer to purchase the GTO Judge for

  $60,000.00. DENIED as to all other allegations.

     16. DENIED.

     17. DENIED.

     18. DENIED.

     19. ADMITTED that no funds were ever delivered to Empire. DENIED as to all other

  allegations.

     20. DENIED.

     21. ADMITTED that Just Toys had possession of the Trans Am for a period of time

  but unknown as to which period is being alleged, and therefore DENIED.

     22. DENIED.




                                        Page 2 of 6
Case 6:18-cv-00026-ACC-DCI Document 28 Filed 05/29/18 Page 3 of 6 PageID 195



      23. DENIED.

      24. DENIED.

      25. DENIED.

      26. DENIED.

      27. DENIED.

      28. DENIED.

      29. ADMITTED.

      30. ADMITTED.

      31. Unknown what Empire’s thoughts were and therefore DENIED. DENIED as to

  all other allegations.

      32. DENIED.

      33. DENIED.

                                         COUNT I
                                        (Civil Theft)

      34. Defendant restates its answers to the allegations of paragraphs 1-33 as if stated

  fully herein.

      35. ADMITTED that Plaintiff has attempted to plead a civil theft claim. DENIED as

  to all other allegations.

      36. DENIED.

      37. DENIED.

      38. DENIED.

      39. DENIED.

      40. ADMITTED that Plaintiff sent Defendant the letter attached as Exhibit J.

  DENIED as to all other allegations.



                                         Page 3 of 6
Case 6:18-cv-00026-ACC-DCI Document 28 Filed 05/29/18 Page 4 of 6 PageID 196



      41. ADMITTED.

      42. DENIED.

          WHEREFORE, Defendant requests this court deny judgment for Plaintiff and

      award Defendant, interest, costs, and attorneys’ fees pursuant to the civil theft statute.

                                           COUNT II
                                          (Conversion)

      43. ADMITTED that Plaintiff has attempted to plead a conversion claim. DENIED as

  to all other allegations.

      44. Defendant restates its answers to the allegations of paragraphs 1-33 as if stated

  fully herein.

      45. DENIED.

      46. Unknown if Empire was the owner of the vehicle and therefore DENIED.

  DENIED as to all other allegations.

      47. DENIED.

      48. DENIED.

      49. Unknown and therefore DENIED.

      WHEREFORE, Defendant requests this court deny judgment for Plaintiff and award

  Defendant, interest, costs and any other relief that is appropriate.

                                         COUNT III
                                     (Unjust Enrichment)

      50. Defendant restates its answers to the allegations of paragraphs 1-33 as if stated

  fully herein.

      51. ADMITTED that Plaintiff has attempted to plead an unjust enrichment claim.

  DENIED as to all other allegations.




                                           Page 4 of 6
Case 6:18-cv-00026-ACC-DCI Document 28 Filed 05/29/18 Page 5 of 6 PageID 197



     52. DENIED.

     53. DENIED that Just Toys had any legal obligation to Plaintiff.

     54. DENIED.

     55. DENIED.

     WHEREFORE, Defendant requests this court deny judgment for Plaintiff and award

  Defendant, interest, costs and any other relief that is appropriate.

                                AFFIRMATIVE DEFENSES

                                   First Affirmative Defense
                                            (Waiver)

         As a result of Plaintiff’s conduct, words and/or actions, Plaintiff has waived any

  and all of the alleged rights asserted in the complaint and in each and every purported

  claim for relief therein. Plaintiff transferred all rights to the vehicles to Ryan Payne and

  Mr. Payne executed a contract with Just Toys acknowledging that, “[t]he person signing

  as the owner of this vehicle represents that they have the full and complete title to

  this vehicle and have the authority to consign the vehicle.” Plaintiff’s transfer of rights

  to Mr. Payne of the vehicle waives any rights they have to recover in this suit.

                                 Second Affirmative Defense
                                  (Accord and Satisfaction)

         Defendant’s contract with Mr. Payne to sell the vehicles extinguishes Plaintiff’s

  claims any amount in excess of the contract price. Plaintiff’s agreement operated as an

  accord and satisfaction precluding Plaintiff from attempting to recover anything from

  Defendant.

                               CERTIFICATE OF SERVICE

         I hereby certify that on this 29th day of May, 2018, I electronically filed the
  foregoing with the Clerk of the Court by using the CM/ECF system on DAVID S.



                                           Page 5 of 6
Case 6:18-cv-00026-ACC-DCI Document 28 Filed 05/29/18 Page 6 of 6 PageID 198



  COHEN, ESQUIRE, Primary E-Mail: david@dscohenlaw.com and Secondary E-Mail:
  admin@dscohenlaw.com.


                                                ______________________________
                                                MICHAEL M. KEST, ESQUIRE
                                                Florida Bar No. 27994
                                                KEST LAW, PLLC
                                                1150 Louisiana Avenue, Suite 4
                                                Winter Park, Florida 32789
                                                Telephone: (407) 490-2889
                                                E-Mail: Michael@KestLaw.com
                                                Attorney for Defendant




                                  Page 6 of 6
